                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                   :
               Plaintiff,                   :
                                            :
                    v.                      :
                                            :
SAFEHOUSE, a Pennsylvania nonprofit         :
corporation; JOSE BENITEZ, as President     :
and Treasurer of Safehouse,                 :                       CIVIL ACTION
                    Defendants,             :                       No. 19-519
_________________________________________ :
                                            :
SAFEHOUSE, a Pennsylvania nonprofit         :
corporation,                                :
                    Counterclaim Plaintiff, :
                                            :
                    v.                      :
                                            :
UNITED STATES OF AMERICA,                   :
                    Counterclaim Defendant. :



                                            ORDER

       This 24th day of July, 2023, for the reasons below, it is hereby ORDERED that the Motion

to Intervene, ECF 192, is DENIED.

       The group of twenty organizations seeking to intervene (the “Community Groups”)

primarily seek to intervene as of right pursuant to Federal Rule of Civil Procedure 24(a).

Intervention of right is only proper, however, when an existing party cannot “adequately represent”

the proposed intervenor’s interests. See Fed. R. Civ. P. 24(a)(2). Here, the Community Groups

assert the Government has “signaled an abrupt reversal of its position” and no longer appears

interested in enforcing 21 U.S.C. § 856(a) nor defending against Safehouse’s counterclaims, which

impairs their interests in upholding federal law and protecting community health and safety. But
this misunderstands the Government’s current position, and the Government’s recent Motion to

Dismiss seeks to enforce Section 856 by vigorously defending against Safehouse’s counterclaims.

See ECF 211. The Community Groups are therefore not entitled to intervention as of right.

       Alternatively, the Community Groups seek permissive intervention under Rule

24(b)(1)(B). Whether to grant permissive intervention is a “highly discretionary decision,” United

States v. Virgin Islands, 748 F.3d 514, 519 (3d Cir. 2014), and before allowing permissive

intervention “the court must consider whether the intervention will unduly delay or prejudice the

adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). In support of permissive

intervention, the Community Groups again argue that the Government appears unwilling to

enforce Section 856 and defend against Safehouse’s counterclaims. As noted, however, the

Government remains willing and able to do both. And the present issue before the Court is one of

freedom of religion, and it is unclear what special expertise or standing the proposed intervenors

would bring to bear on those issues. The Court will therefore not permit intervention pursuant to

Rule 24(b)(1)(B).




                                                     /s/ Gerald Austin McHugh
                                                    United States District Judge




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